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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA
                                                            No. 1:21-cr-00041-JL
        v.

IAN FREEMAN, ET AL.

                        Defendants.


              JOINT ASSENTED-TO MOTION TO CONTINUE TRIAL DATE

       On April 8, 2021, the Court held a complex case scheduling conference in this case. Prior

to the hearing, the government presented defense counsel and the Court with a proposed trial

schedule. Various defense counsel stated that they would be unable to commit to a trial date until

after having had an opportunity to review discovery. The parties agreed that if all defendants

assented, the government would file a motion to continue the trial date for six months and the

Court would schedule a future status conference to impose a trial schedule after counsel have had

an opportunity to review discovery. All defendants have assented.
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        The government therefore moves, with assent of all defense counsel, to continue the trial

in this case for approximately six months. In addition, the government requests that the Court

schedule a status conference in approximately three months at which time the parties will discuss

a realistic trial date and related deadlines.

                                                  JOHN J. FARLEY
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